       Case 1:24-mj-00325-MAU           Document 5       Filed 10/30/24     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                 Case No. 24-mj-325
        v.
                                                 VIOLATIONS:
 JEFFREY DALE SNYDER,                            18 U.S.C. § 231 (Civil Disorder);
                                                 18 U.S.C. § 111(a)(1) and (b) (Assaulting,
        Defendant.                               Resisting, or Impeding Certain Officers
                                                 Using a Dangerous Weapon);
                                                 18 U.S.C. § 641 (Theft of Government
                                                 Property);
                                                 18 U.S.C. § 1752(a)(1) (Entering and
                                                 Remaining in a Restricted Building or
                                                 Grounds);
                                                 18 U.S.C. § 1752(a)(2) (Disorderly and
                                                 Disruptive Conduct in a Restricted
                                                 Building or Grounds);
                                                 40 U.S.C. § 5104(e)(2)(D) (Disorderly
                                                 Conduct in a Capitol Building); and
                                                 40 U.S.C. § 5104(e)(2)(F) (Act of Physical
                                                 Violence in the Capitol Grounds or
                                                 Buildings)



                         GOVERNMENT=S MOTION TO UNSEAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests that the Court unseal the docket, arrest warrant,

complaint and related papers in the above captioned case. The defendant is currently a fugitive,

and unsealing the docket, arrest warrant, complaint and related papers will aid in law

enforcement’s attempts to locate the defendant. This matter was originally sealed on or about

October 16, 2024.



Date: October 30, 2024                      Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar No. 481052
Case 1:24-mj-00325-MAU     Document 5      Filed 10/30/24     Page 2 of 2




                         By:   /s/ Kaitlin Klamann
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